Case 3:02-cr-00108-N          Document 454          Filed 11/07/06       Page 1 of 4       PageID 760



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

UNITED STATES OF AMERICA,                           )
          Respondent/Plaintiff,                     )
vs.                                                 )           No. 3:02-CR-0108-H(12)
                                                    )           No. 3:05-CV-0375-H (BH)
MICHELE REVELLE REEVES,                             )                    ECF
ID # 28467-177,                                     )        Referred to U.S. Magistrate Judge
            Movant/Defendant.                       )

                  FINDINGS, CONCLUSIONS, AND RECOMMENDATION
                     OF THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to the provisions of 28 U.S.C. § 636(b), and an Order of the Court in implementation

thereof, subject cause has previously been referred to the United States Magistrate Judge. The

findings, conclusions, and recommendation of the Magistrate Judge are as follows:

                                         I. BACKGROUND

        Movant, an inmate currently incarcerated in the federal prison system, filed this Motion to

Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255. The respondent is the United

States of America.

        On August 8, 2002, movant pled guilty to conspiracy to manufacture and to possess with intent

to distribute methamphetamine. In her plea agreement, she “waive[d] the right to appeal her sentence

on any ground, including any appeal right conferred by 18 U.S.C. § 3742, and the defendant further

agree[d] not to contest her sentence in any post-conviction proceeding, including but not limited to

a proceeding under 28 U.S.C. § 2255.” She specifically reserved the right to appeal: “a) any

punishment imposed in excess of a statutory maximum, b) any punishment to the extent it constitutes

an upward departure from the guideline range deemed most applicable by the sentencing court and

c) arithmetic errors in the guidelines calculations; and d) a claim of ineffective assistance of counsel.”
Case 3:02-cr-00108-N          Document 454        Filed 11/07/06       Page 2 of 4      PageID 761



On October 31, 2002, the Court entered judgment upon movant’s guilty plea, and sentenced her to

135 months imprisonment. Movant did not appeal her conviction or sentence.

       On February 15, 2005, the Court received from movant a “Supplemental Memorandum of Law

in Support of Motion Under 28 U.S.C. § 2255.” Because the records of the Court reflected no pre-

viously filed motion to vacate under § 2255, the Court sent her a Magistrate Judge’s Questionnaire in

which it asked for specific information regarding any previously filed § 2255 petition, requested that

she provide a copy of such prior filing, and asked whether she wanted the Court to construe her sup-

plemental memorandum as a § 2255 motion if she had not actually filed a previous such motion. In

response to that questionnaire, movant indicated that she mailed a § 2255 motion to the Court on

September 16, 2004; submitted a copy of such motion with her response; and indicated that she did

not wish the Court to construe her February 2005 filing as her § 2255 motion, but instead desires that

the Court consider her original claims submitted in her original motion. The Court thus docketed the

September 16, 2004 motion as an amended document.

       In the September 2004 motion, as supplemented by the February 2005 memorandum, movant

claims that, under Blakely v. Washington, 542 U.S. 296 (2004) and United States v. Booker, 543 U.S. 220

(2005), the Court improperly sentenced her by utilizing factors not submitted to the jury for

determination. On April 18, 2005, the Court received a request from movant for leave to amend her

§ 2255 motion to assert that the Court erred under Shepard v. United States, 544 U.S. 13 (2005) when

it calculated her criminal history category.

                                   II. SUMMARY DISMISSAL

       Rule 4 of the Rules Governing Section 2255 Proceedings for the United States District Courts

provides that “[i]f it plainly appears from the motion, any attached exhibits, and the record of prior


                                                  2
Case 3:02-cr-00108-N              Document 454            Filed 11/07/06          Page 3 of 4         PageID 762



proceedings that the moving party is not entitled to relief, the judge must dismiss the motion and direct

the clerk to notify the moving party.” Generally, “an informed and voluntary waiver of post-conviction

relief is effective to bar such relief.” United States v. Wilkes, 20 F.3d 651, 653 (5th Cir. 1994) (per

curiam), accord United States v. White, 307 F.3d 336, 343 (5th Cir. 2002). Such waiver is also sufficient

to summarily dismiss a motion filed pursuant to § 2255. Neither Blakely nor Booker “alter the plain

meaning of appeal-waiver provisions in valid plea agreements.” United States v. McKinney, 406 F.3d

744, 747 n.5 (5th Cir. 2005). Consequently, a waiver that was signed prior to the issuance of Blakely

and Booker is enforceable. Id. at 746-47.

         In this instance, movant does not contest that she voluntarily and knowingly pled guilty. By

such plea, movant voluntarily waived her right to collaterally attack her conviction or sentence in a

motion to vacate, except on four specific grounds not raised in the instant motion to vacate. Thus,

because movant has raised no claim specifically exempted from her waiver, her informed and voluntary

waiver bars collateral relief in this case. In view of movant’s waiver, it is clear that she is entitled to

no relief on her Blakely or Booker claims.1 Consequently, the Court should summarily dismiss this

action. Because movant’s waiver also bars collateral relief on a claim under Shepard, the Court should

deny the request to amend.

                                      III. EVIDENTIARY HEARING

         Upon review of the motion to vacate and the files and records of this case, an evidentiary

hearing appears unnecessary. No evidentiary hearing is required, when “the motion and the files and



1
  Even if movant had not voluntarily and knowingly waived her right to collaterally attack her conviction and sentence
pursuant to 28 U.S.C. § 2255, claims based upon Blakely or Booker have not been made retroactively applicable on
collateral review and are thus not cognizable under § 2255. See United States v. Cabrera, Nos. 3:01-CR-0374-H, 3:04-CV-
2739-H, 2005 WL 1422154, at *1 (N.D. Tex. June 14, 2005) (findings, conclusions, and recommendation addressing
initial § 2255 motion), accepted by unpub. order (N.D. Tex. July 11, 2005).

                                                          3
Case 3:02-cr-00108-N          Document 454         Filed 11/07/06        Page 4 of 4      PageID 763



records of the case conclusively show that the prisoner is entitled to no relief.” 28 U.S.C. § 2255. In

this instance, the matters reviewed by the Court conclusively show that movant is entitled to no relief.

                                    IV. RECOMMENDATION

        For the foregoing reasons, the undersigned Magistrate Judge RECOMMENDS that the Court

summarily DISMISS the instant Motion to Vacate, Set Aside, or Correct Sentence brought pursuant

to 28 U.S.C. § 2255. It is further RECOMMENDED that the Court DENY movant’s request to

amend her § 2255 motion by including a claim under Shepard v. United States, 544 U.S. 13 (2005).

        SIGNED this 7th day of November, 2006.



                                                         ___________________________________
                                                         IRMA CARRILLO RAMIREZ
                                                         UNITED STATES MAGISTRATE JUDGE


                            INSTRUCTIONS FOR SERVICE AND
                           NOTICE OF RIGHT TO APPEAL/OBJECT

         The United States District Clerk shall serve a copy of these findings, conclusions, and recom-
mendation on all parties by mailing a copy to each of them. Pursuant to 28 U.S.C. § 636(b)(1), any
party who desires to object to these findings, conclusions and recommendation must file and serve
written objections within ten days after being served with a copy. A party filing objections must spe-
cifically identify those findings, conclusions, or recommendation to which objections are being made.
The District Court need not consider frivolous, conclusory or general objections. Failure to file written
objections to the proposed findings, conclusions, and recommendation within ten days after being
served with a copy shall bar the aggrieved party from appealing the factual findings and legal
conclusions of the Magistrate Judge that are accepted by the District Court, except upon grounds of
plain error. Douglass v. United Servs. Auto Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en banc).



                                                         ___________________________________
                                                         IRMA CARRILLO RAMIREZ
                                                         UNITED STATES MAGISTRATE JUDGE




                                                   4
